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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

SONTERRA CAPITAL MASTER FUND, LTD., on
behalf of itself and all others similarly situated,

                              Plaintiff,
                                                      No. 15-cv-03538 (VSB)
                     - against -

BARCLAYS BANK PLC, BARCLAYS CAPITAL                   ECF Case
INC., COÖPERATIEVE CENTRALE
RAIFFEISEN-BOERENLEENBANK B.A.,
DEUTSCHE BANK AG, LLOYDS BANKING                      NOTICE OF MOTION TO DISMISS
GROUP PLC, THE ROYAL BANK OF                          CONSOLIDATED
SCOTLAND PLC, UBS AG AND JOHN DOE                     AMENDED COMPLAINT
NOS. 1-50,

                              Defendants.             ORAL ARGUMENT REQUESTED

FRONTPOINT EUROPEAN FUND, L.P., and
RICHARD DENNIS, on behalf of themselves and
all others similarly situated,

                              Plaintiffs,

                     - against -

BARCLAYS BANK PLC, BARCLAYS CAPITAL
INC., COÖPERATIEVE CENTRALE
RAIFFEISEN-BOERENLEENBANK B.A.,
DEUTSCHE BANK AG, LLOYDS BANKING
GROUP PLC, THE ROYAL BANK OF
SCOTLAND PLC, UBS AG, AND JOHN DOE
NOS. 1-50,

                              Defendants.


       PLEASE TAKE NOTICE that, upon the accompanying Declaration of Marc J. Gottridge,

dated April 11, 2016, and the exhibits thereto; the accompanying Declaration of David R.

Gelfand, dated April 11, 2016, and the exhibit thereto; the accompanying Declarations of Allison
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Cambria, dated April 11, 2016; John Connors, dated November 2015; Patrick Gonsalves, dated

November 12, 2015; Jennifer Lobato-Church, dated April 11, 2016; Kevin P. McKendry, dated

April 5, 2016; Joseph P. Randazzo, dated April 8, 2016; and Andrew Sherman, dated April 8,

2016; the Memorandum of Law in Support of Defendants’ Motion to Dismiss the Consolidated

Amended Complaint for Lack of Subject Matter Jurisdiction and Failure to State a Claim, dated

April 11, 2016; the Memorandum of Law in Support of Foreign Defendants’ Motion to Dismiss

for Lack of Personal Jurisdiction, dated April 11, 2016; and all prior pleadings and papers filed

in this action, Defendants Barclays Bank plc, Barclays Capital Inc., Coöperatieve Rabobank

U.A. (f/k/a Coöperatieve Centrale Raiffeisen-Boerenleenbank B.A.), Deutsche Bank AG, Lloyds

Banking Group plc, The Royal Bank of Scotland plc, and UBS AG (collectively, “Defendants”),

by their respective undersigned attorneys, will move this Court, before the Honorable Vernon S.

Broderick, United States District Judge, in Courtroom 518 of the Thurgood Marshall United

States Courthouse, 40 Foley Square, New York, New York, on a date and at a time to be

determined by the Court, pursuant to Rules 12(b)(1), 12(b)(2), and 12(b)(6) of the Federal Rules

of Civil Procedure, for an order dismissing, as against Defendants, all claims in Plaintiffs’

Consolidated Amended Complaint, filed on February 25, 2016 (Dkt. No. 95), and for such other

and further relief as the Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that, as set forth in this Court’s Order dated

February 19, 2016 (Dkt. No. 93), any papers in opposition to this motion shall be filed and

served no later than May 26, 2016.




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Dated: New York, New York
       April 11, 2016


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*Electronic signatures used with permission.

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